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 Fill in this information to identify the case:

  Debtor 1        Marco A. Paez

  Debtor 2

 United States Bankruptcy Court for the: Southern District of Florida

 Case number :     19-19489-LMI



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                    12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              THE BANK OF NEW YORK MELLON FKA THE BANK OF Court claim no.                                                                     8
     creditor:            NEW     YORK    AS     TRUSTEE      FOR THE (if known):
                          CERTIFICATEHOLDERS OF CWABS INC., ASSET-
                          BACKED CERTIFICATES, SERIES 2007-11
     Last 4 digits of any number                                                                       Date of payment change:                   08/01/2020
     you use to identify the debtor's                                       9855                       Must be at least 21 days after date of
     account:                                                                                          this notice

                                                                                                       New total payment:                        $1,243.87
                                                                                                       Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.    Will there be a change in the debtor's escrow account payment?
       [ ]    No
       [X]       Yes. Attach a copy of the escrow account statement prepared in a form consistent with t he applicable nonbankruptcy law.
                       Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $101.07                                New escrow payment: $107.10



Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
       [X]     No
       [ ]    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If
                   a notice is not attached, explain why:

                      Current interest rate:                                       New interest rate:
                      Current Principal and interest payment:                      New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X]       No
       [ ]       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                       agreement. (Court approval may be required before the payment change can take effect).
                       Reason for change:
                              Current mortgage payment:                                     New mortgage payment:




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Debtor 1 Marco A. Paez                                                          Case number (if known)            19-19489-LMI
            First Name             Middle Name          Last Name




Part 4:         Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ]      I am the creditor.

[X]      I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


                   /s/ Christopher Giacinto                                                    07/06/2020
                                                                                       Date
    Signature



Print:                   Christopher Giacinto                               Title Authorized Agent for Creditor

Company                  Padgett Law Group

Address                  6267 Old Water Oak Road, Suite 203

                         Tallahassee FL, 32312

Contact phone            (850) 422-2520                  Email              PLGinquiries@padgettlawgroup.com




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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties
                                                                                                 6th
on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________ day of

July, 2020.



                                                    /S/ Christopher Giacinto

                                                    ___________________________________
                                                    CHRISTOPHER GIACINTO
                                                    PADGETT LAW GROUP
                                                    6267 Old Water Oak Road, Suite 203
                                                    Tallahassee, FL 32312
                                                    (850) 422-2520 (telephone)
                                                    (850) 422-2567 (facsimile)
                                                    PLGinquiries@padgettlawgroup.com
                                                    Authorized Agent for Creditor




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                             SERVICE LIST (CASE NO. 19-19489-LMI)

Debtor
Marco A. Paez
360 Northwest 114th Avenue
#105
Miami, FL 33172

Attorney
Ricardo Corona, Esq.
3899 NW 7 St, Second Floor
Miami, FL 33126

Trustee
Nancy K. Neidich
POB 279806
Miramar, FL 33027

US Trustee
U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130




Official Form 410S1                 Notice of Mortgage Payment Change                 page 4
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                                                                     PO Box 10826
                                                                     Greenville, SC 29603 0826
                                                                     For Inquiries: (800) 365-7107


                                                                                                                                      Analysis Date:                                              May 31, 2020
        MARCO A PAEZ                                                                                                                  Loan:
        KARLA D PAEZ
        360 NW 114th Ave Apt 105                                                                                                      Property Address:
        Miami FL 33172                                                                                                                360 NW 114TH AVE APT 105
                                                                                                                                      MIAMI, FL 33172




                                                                  Annual Escrow Account Disclosure Statement - Account History
      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
      behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
      decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
      increase. If the escrow payment decreases, your mortgage payment will decrease.

Payment Information              Contractual           Effective Aug 01, 2020         Prior Esc Pmt                      July 01, 2020        Escrow Balance Calculation

P & I Pmt:                          $1,073.46                        $1,136.77**      P & I Pmt:                            $1,136.77         Due Date:                                        September 01, 2019
Escrow Pmt:                          $101.07                          $107.10         Escrow Pmt:                            $101.07          Escrow Balance:                                            $784.58
Other Funds Pmt:                        $0.00                            $0.00        Other Funds Pmt:                          $0.00         Anticipated Pmts to Escrow:                              $1,111.77
Asst. Pmt (-):                          $0.00                            $0.00        Asst. Pmt (-):                            $0.00         Anticipated Pmts from Escrow (-):                             $0.00
Reserve Acct Pmt:                       $0.00                            $0.00        Resrv Acct Pmt:                           $0.00

Total Payment:                      $1,174.53                        $1,243.87        Total Payment:                        $1,237.84         Anticipated Escrow Balance:                               $1,896.35


Shortage/Overage Information                                     Effective Aug 01, 2020           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
                                                                                                  amounts or insurance premiums, your escrow balance contains a cushion of 214.20.
Upcoming Total Annual Bills                                                    $1,285.21
Required Cushion                                                                                  A cushion is an additional amount of funds held in your escrow in order to prevent the
                                                                                $214.20
Required Starting Balance                                                      $1,071.01          balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                                    $0.00          occurs. Your lowest monthly balance should not be below 214.20 or 1/6 of the
                                                                                                  anticipated payment from the account.

        ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.
      This is a statement of actual activity in your escrow account from Aug 2019 to July 2020. Last year's anticipated activity (payments to and from your
      escrow account) is next to the actual activity.
                              Payments to Escrow                          Payments From Escrow                                                              Escrow Balance
          Date                Anticipated              Actual             Anticipated          Actual                     Description                       Required              Actual
                                                                                                                   Starting Balance                             1,010.72            (738.28)
        Aug 2019                      101.08                                                                   *                                                1,111.80            (738.28)
        Sep 2019                      101.08                                                                   *                                                1,212.88            (738.28)
        Oct 2019                      101.08                                                                   *                                                1,313.96            (738.28)
        Nov 2019                      101.08                                   1,212.89               1,285.21 * County Tax                                       202.15          (2,023.49)
        Dec 2019                      101.08                                                                   *                                                  303.23          (2,023.49)
        Jan 2020                      101.08                101.07                  0.01                       * Hazard                                           404.30          (1,922.42)
        Feb 2020                      101.08                101.07                                             *                                                  505.38          (1,821.35)
        Mar 2020                      101.08                101.07                                             *                                                  606.46          (1,720.28)
        Apr 2020                      101.08                101.07                                             *                                                  707.54          (1,619.21)
        May 2020                      101.08                101.07                                             *                                                  808.62          (1,518.14)
        Jun 2020                      101.08                                                                   *                                                  909.70          (1,518.14)
        Jul 2020                      101.08                                                                   *                                                1,010.78          (1,518.14)
                                                                                                                 Anticipated Transactions                       1,010.78          (1,518.14)
        Jul 2020                                          1,111.77 P                                                                                                                (406.37)
                                    $1,212.96            $1,617.12            $1,212.90              $1,285.21
      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.
      P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.
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                                                          For Inquiries: (800) 365-7107


                                                                                                                        Analysis Date:                                              May 31, 2020
                                                                                                                        Loan:


                                                  Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.

      Date                     Anticipated Payments                                                                                                 Escrow Balance
                              To Escrow          From Escrow                   Description                                                Anticipated                Required
                                                                              Starting Balance                                                1,896.35                   1,071.01
   Aug 2020                        107.10                                                                                                     2,003.45                   1,178.11
   Sep 2020                        107.10                                                                                                     2,110.55                   1,285.21
   Oct 2020                        107.10                                                                                                     2,217.65                   1,392.31
   Nov 2020                        107.10              1,285.21               County Tax                                                      1,039.54                     214.20
   Dec 2020                        107.10                                                                                                     1,146.64                     321.30
   Jan 2021                        107.10                                                                                                     1,253.74                     428.40
   Feb 2021                        107.10                                                                                                     1,360.84                     535.50
   Mar 2021                        107.10                                                                                                     1,467.94                     642.60
   Apr 2021                        107.10                                                                                                     1,575.04                     749.70
   May 2021                        107.10                                                                                                     1,682.14                     856.80
   Jun 2021                        107.10                                                                                                     1,789.24                     963.90
   Jul 2021                        107.10                                                                                                     1,896.34                   1,071.00
                                 $1,285.20             $1,285.21
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)




 We anticipate the total of your coming year bills to be 1,285.21. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
   New Escrow Payment Calculation

   Unadjusted Escrow Payment                                               $107.10

   Shortage Installment:                                                      $0.00
   Rounding Adjustment Amount:                                                $0.00

   Escrow Payment:                                                         $107.10

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION.
